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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

Epson America, Inc.                             ) Civil Action No. 3:18-cv-03134-JMC
                                                )
                                   Plaintiff,   )
                                                )
               vs.                              )       PLAINTIFF’S MOTION FOR
                                                )      PRELIMINARY INJUNCTION
Curtis International Ltd. and                   )
Technicolor SA d/b/a Technicolor USA,           )
Inc.                                            )
                                                )
                                 Defendant.     )
                                                )

       Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff Epson America,

Inc. (“Epson”) respectfully moves for a Preliminary Injunction and Recall Order against

Defendants Curtis International Ltd. and Technical SA d/b/a Technicolor USA, Inc.

(“Defendants”).

       This Motion is supported by the Verified Amended Complaint, Memorandum in Support,

evidence of record, arguments of counsel, and applicable law.

       WHEREFORE, Epson respectfully requests that the Court enter a PRELIMINARY

INJUNCTION ordering Defendants and their subsidiaries, retailers, distributors, and any other

person or entity acting in concert or participation with Defendants:

       A.      Immediately cease and desist from engaging in further false or misleading

               advertising with respect to their products’ lumen capacities;

       B.      Immediately send corrective notices to their retailers and issue a press release to

               their customers disclosing their products’ true ANSI lumen capacities; and

       C.      For such other and further relief that the Court may deem just and proper.




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Charleston, South Carolina                   /s/ Christopher A. Jaros
Dated: March 22, 2019                        Christopher A. Jaros (Federal ID# 12094)
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                                             ATTORNEYS FOR PLAINTIFF EPSON
                                             AMERICA, INC.



                                CERTIFICATE OF SERVICE

        I, Christopher A. Jaros, hereby certify that on March 22, 2019, this document, filed
through the ECF system, will be sent electronically to Curtis International Ltd. as identified on
the Notice of Electronic Filing, and will be sent to Technicolor SA d/b/a Technicolor USA, Inc.
via certified mail to its registered agent’s address.


                                                                    /s/ Christopher A. Jaros
                                                                    Christopher A. Jaros




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